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IN THE UNITED STATES DISTRICT COURT 319
FOR TI-IE WESTERN DISTRICT OF TENNESSEE ‘~E f -,
WESTERN DIVISION " ` `
)
Clark l). King, )
)
Plaintiff, )
)
vs. ) No. 03-2016 DV
)
Time Warner Communications; Universal ) .TURY DEMANDED
Collectioa Systems; Nicholson, Hackel, )
& Nicholson Law Firm; and Douglas )
Nicholson, )
)
Defendants. )
)

 

ORDER GRANTI'NG PLATNTIFF’S MOTION FOR ENTRY OF JUDGMENT

 

”Ihis cause came to be on the Plaintift’s Motion for Entry of Judg:ment, from
Which The Court finds as follows;

On March 4, 2005_, Plaintiff H.led a Notice of Acceptancc of Offer of Judg,ment
pursuant to Rule 68 F.R.C.P. Attacbed to said Notice was the Ot`fer of Judgment made by
“all defendants"" pursuant to Rulc 68 F.R.C.P._. dated Fcbruary 22, 2005_, “for the total sum
of $1.8.000.00, plus the costs now acciued.” Also attached to said notice was the
Plaintiff" s acceptance of said Oft`er of Judgment, pursuant to Rule 68 F.R.C.P. Fui'thcr,
said notice contained a certificate of service to showing that said notice had been served
on ali Defendants

On March 7_, 2005, counsel for `Defendant Universal Collect'ion Systems, acting on

This document entered on the docket she t in compliance
With F\ule 56 and/or 79(a) FHCP on 5 §’§: § 25

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,`

behalf of all Defendants, faxed Pla.intiif’s counsel a letter acknowledging Plaintiff‘s
Mareh 4, 2005 “acceptance of the Offer of Judgment”, and that he had ordered the funds.

Ncne of the Defendants have filed a response to the Plaintifi" s Motion for Entry
of Judgrnent.

The Court finds that the requirements ofRule 68 F.R.C.P., have been met1 and
therefore1 judgment should be entered in favor of the Plaintiff against all Defendants for
$.18_,000.00, plus all costs accrued

Accordingly, the Plaintiff’ s Motion for Entry of Judgment is GRANTED, and the
Clerlc of Court shall enter judgment in favor of the Pla.intift` against ali Defendants for

$1.8,000.00, plus all costs accrucd.

I'l` IS SO ORDERED this id day of _, 2005.

    

ICE BOUIE ONALD
UN TED STA'I`ES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-02016 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

